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     Capital One Bank, N.A.
12
                                UNITED STATES DISTRICT COURT
13                                 DISTRICT OF NEW JERSEY
                                      NEWARK DIVISION
14

15
      LISA PARKER,                                    Case No. 2:18-cv-16040-WHW-CLW

16                 Plaintiff,                         JOINT STIPULATION FOR
                                                      DISMISSAL WITH PREJUDICE
17          v.
18
      CAPITAL ONE BANK, N.A.,
19
                   Defendant.
20

21
            NOTICE IS HEREBY GIVEN that on this day, Plaintiff Lisa Parker, by and
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     through her attorneys Price Law Group, APC, and Defendant Capital One Bank, N.A.,
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     by and through its attorneys Ballard Spahr LLP, hereby stipulate and agree that the
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     above-entitled matter be dismissed with prejudice. It is further stipulated that the parties
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2    shall each bear their own attorneys’ fees and costs.

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            Respectfully submitted this 7th day of August 2019.
5
      PRICE LAW GROUP, APC                     BALLARD SPAHR LLP
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      By: /s/ Alla Gulchina                    By: /s/ Daniel JT McKenna
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      Attorneys for Plaintiff,                 Attorneys for Defendant,
12    Lisa Parker                              Wells Fargo Bank, N.A.

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                                  CERTIFICATE OF SERVICE
16
            I hereby certify that on August 7, 2019, I electronically filed the foregoing with
17
     the Clerk of the Court using the ECF system, which will send notice of such filing to all
18   attorneys of record in this matter. Since none of the attorneys of record are non-ECF
19   participants, hard copies of the foregoing have not been provided via personal delivery or
20   by postal mail.
21

22                                                      PRICE LAW GROUP, APC

23                                                      /s/ Justin Freedman

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